         Case
B 2100A(Form     17-59230-jwc
             2100A) (12/15)                    Doc 49          Filed 05/13/19 Entered 05/13/19 13:26:50                                Desc Main
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                                  UNITED STATES BANKRUPTCY COURT
                                                FOR THE NORTHERN DISTRICT OF GEORGIA
                                                          ATLANTA DIVISION


In re       Kenetta Natashe Muhammad                                             Case No. 17-59230-jwc


                                   TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby gives
evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the claim
referenced in this evidence and notice.

              The Money Source Inc.                                                             CIS Financial Services, Inc.
               Name of Transferee                                                                  Name of Transferor

Name and Address where notices to                                              Court Claim # (if known):      7-1
transferee should be sent:                                                     Amount of Claim:      $200,158.99
The Money Source Inc.                                                          Date Claim Filed:     August 8, 2017
500 South Broad Street Suite 100A
Meriden, CT 06450

Phone:    866-867-0330                                                         Phone:
Last Four Digits of Acct #                   9901                              Last Four Digits of Acct #                  1100

Name and Address where transferee payments
should be sent (if different from above):
The Money Source Inc.
500 South Broad Street Suite 100A
Meriden, CT 06450


Phone:    866-867-0330
Last Four Digits of Acct #:                   9901

I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my
knowledge and belief.




By:      /s/John D. Schlotter                                                                      Date:       5/13/2019
        Transferee/Transferee’s Attorney

Penalty for making a false statement:   Fine of up to $500,000 or imprisonment for up to 5 years, or both.   18 U.S.C. §§ 152 & 3571
          Case 17-59230-jwc       Doc 49    Filed 05/13/19 Entered 05/13/19 13:26:50 Desc Main
                                            Document      Page 2 of 7
 In Re:                                                   Bankruptcy Case No.:  17-59230-jwc
            Kenetta Natashe Muhammad
                                                            Chapter:                   13

                                                            Judge:                     Jeffery W. Cavender



                                           CERTIFICATE OF SERVICE

       I, John D. Schlotter, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road, Roswell,
Georgia 30076, certify:

          That I am, and at all times hereinafter mentioned, was more than 18 years of age;

        That on the date below, I served a copy of the within Transfer of Claim filed in this bankruptcy matter
on the following parties at the addresses shown, by regular United States Mail, with proper postage affixed,
unless another manner of service is expressly indicated:

Kenetta Natashe Muhammad
2049 Highview Road Southwest
Atlanta, GA 30311

CIS Financial Services, Inc.
Bankruptcy Department
Attn: Tamara Armstrong
PO Box 1906
Hamilton, AL 35570

Howard P. Slomka                               (served via ECF Notification)
Slipakoff & Slomka, PC
Overlook III – Suite 1700
2859 Paces Ferry Rd., SE
Atlanta, GA 30339

Nancy J. Whaley, Trustee                       (served via ECF Notification)
Suite 120, Suntrust Garden Plaza
303 Peachtree Center Avenue
Atlanta, GA 30303

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.


Executed on:       5/13/2019        By:    /s/John D. Schlotter
                       (date)              John D. Schlotter
                                           Georgia BAR NO. 629456
                                           Attorney for Transferee
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